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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


PUBLIC EMPLOYEES FOR
ENVIRONMENTAL RESPONSIBILITY,                     *

        Plaintiff,                                *
                                                             Civil Action No. 8:25-cv-00260-PX
   v.                                             *

DONALD J. TRUMP, in his official capacity
as President of the United States of America,     *
et al.,                                           *

        Defendants.
                                                 *
                                                ***

                                             ORDER



        For the reasons discussed during today’s telephonic status conference, it is hereby

ORDERED on this 2nd day of July 2025, by the United States District Court for the District of

Maryland:



        1. Plaintiff’s Motion for Extension of Time at ECF No. 41 is DENIED as moot;

        2. The Consent Motion for Extension of Time at ECF No. 32 is GRANTED;

        3. The case is STAYED until the publication of a Final Rule issued in connection with

            the Proposed Rule, “Improving Performance, Accountability and Responsiveness in

            Civil Service,” 90 Fed. Reg. 17182 (April 23, 2025) (Docket ID: OPM-2025-0004) (the

            “Final Rule”);

        4. The Parties shall jointly move to lift the stay upon the publication of the Final Rule;




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       5. Plaintiff shall respond to ECF No. 31 within thirty-five days after the publication of the

          Final Rule.



       SO ORDERED.



July 2, 2025                                                                       /S/
Date                                                                Paula Xinis
                                                                    United States District Judge




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